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 In the United States Court of Federal Claims
                          OFFICE OF SPECIAL MASTERS
                                     No. 13-741V
                              (E-Filed: March 20, 2014)

* * * * * * * * * * * * * * *
TINA PRATER,                 * UNPUBLISHED
                            *
             Petitioner,    *   Special Master
                            *   Hamilton-Fieldman
          v.                *
                            *   Decision on Attorneys’ Fees and Costs.
SECRETARY OF HEALTH AND     *
 HUMAN SERVICES,            *
                            *
             Respondent.    *   .
* * * * * * * * * * * * * * *

Anne Toale, Maglio, Christopher & Toale, Sarasota, FL, for Petitioner.
Lindsay Corliss, United States Department of Justice, Washington, DC, for Respondent.


                     DECISION1 (ATTORNEY FEES AND COSTS)

       In this case under the National Vaccine Injury Compensation Program,2 the
undersigned issued a decision on March 19, 2014. On March 20, 2014, the parties filed a
stipulation concerning attorney’s fees and costs in this matter. The parties’ stipulation
requests a total payment of $8,964.71, representing attorney’s fees and costs. In
accordance with General Order #9, the stipulation includes a statement that Petitioner
incurred no reimbursable costs in pursuit of his claim.
      1
         The undersigned intends to post this decision on the United States Court of
Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No.
107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note
(2006)). As provided by Vaccine Rule 18(b), each party has 14 days within which to
request redaction “of any information furnished by that party (1) that is trade secret or
commercial or financial information and is privileged or confidential, or (2) that are
medical files and similar files the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, “the entire” decision
will be available to the public. Id.
      2
        The applicable statutory provisions defining the program are found at 42 U.S.C.
§ 300aa-10 et seq. (2006).

                                            1
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        I find that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate,
pursuant to 42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems
reasonable and appropriate. Accordingly, I hereby award the total $8,964.71, as a
lump sum in the form of a check payable jointly to Petitioner and Petitioner’s
counsel, the Maglio, Christopher & Toale, PA Law Firm, forwarded to the main
office of Maglio, Christopher & Toale, located at 1605 Main Street, Suite 710,
Sarasota, Florida 34236.

       In the absence of a timely-filed motion for review filed pursuant to Appendix B of
the Rules of the U.S. Court of Federal Claims, the clerk of the court shall enter judgment
in accordance herewith.

IT IS SO ORDERED
                                                s/Lisa D. Hamilton-Fieldman
                                                Lisa D. Hamilton-Fieldman
                                                Special Master




                                            2
